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    GOVERNMENT’S POSITION ON REDACTIONS AND SEALING FOR RESPONSES
      TO FOUR RULE 12 MOTIONS TO BE TRANSMITTED BY EMAIL (PER THE
               COURT’S PAPERLESS ORDERS (ECF Nos. 320, 365)

   1 - Government’s Opposition to Donald J. Trump’s Motion for Dismissal or Suppression of
   Evidence Obtained from Mar-a-Lago or His Attorneys

   RESPONSE TO MOTION: Proposed redactions in red boxes, on pp. 13-17, 22-24. Rationale:
   Potential witness safety / witness identifying information; references to non-public substance of
   potential witness testimony; references to content of sealed documents.
   GOVERNMENT CITATIONS TO DEFENSE EXHIBITS OR EXHIBITS FROM OTHER
   FILINGS WHERE GOVERNMENT HAS PROPOSED TO REDACT OR SEAL: Def. Exs.
   16-19 (Gov’t Response. at 16, 24) – Seal all. See ECF No. 348-1, at 2.
   GOVERNMENT EXHIBITS:

    Gov’t      Description        Redact                            Justification
     Ex.                          / Seal /
     No.                           None
      1     SDFL Mar-a-Lago       Redact     Potential witness safety; names and identifying
             Search Warrant                  information for witnesses and ancillary persons.
              (22-mj-8332)
      2        Excerpt of          Seal      This exhibit is part of a sealed matter in the District of
                Potential                    Columbia that the Government will be moving for
                Witness’s                    transfer pursuant to Rule 6(e)(3)(G); potential witness
            Transcribed Notes                safety/witness names; integrity of trial testimony;
                    I                        potential trial exhibits; information for witnesses and
                                             ancillary persons; Rule 6(e).
      3        Excerpt of          Seal      This exhibit is part of a sealed matter in the District of
                Potential                    Columbia that the Government will be moving for
                Witness’s                    transfer pursuant to Rule 6(e)(3)(G); potential witness
            Transcribed Notes                safety/witness names; integrity of trial testimony;
                    2                        potential trial exhibits; information for witnesses and
                                             ancillary persons; Rule 6(e).
      4      Excerpt of Grand      Seal      Potential witness safety/witness names; integrity of trial
             Jury Transcript of              testimony; information for witnesses and ancillary
                a Potential                  persons; Rule 6(e).
                  Witness
      5      Excerpt of Grand      Seal      Potential witness safety/witness names; integrity of trial
             Jury Transcript of              testimony; information for witnesses and ancillary
                a Potential                  persons; Rule 6(e).
                  Witness



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   2 - Government’s Opposition to Defendant Waltine Nauta’s Motion to Suppress Evidence
   RESPONSE TO MOTION: No proposed redactions to Government’s response, thus filed on
   CM/ECF (ECF No. 381).
   GOVERNMENT CITATIONS TO DEFENSE EXHIBITS OR EXHIBITS FROM OTHER
   FILINGS WHERE GOVERNMENT HAS PROPOSED TO REDACT OR SEAL: N/A.
   GOVERNMENT EXHIBITS:

    Gov’t        Description          Redact                        Justification
     Ex.                              / Seal /
     No.                               None
      1     SDFL Search Warrant       Redact     PII; potential witness safety; names and identifying
              for Nauta car and                  information for witnesses and ancillary persons.
            phones (22-mj-8547)
      2      Unexecuted SDFL          Redact     PII; potential witness safety; names and identifying
             Search Warrant for                  information for witnesses and ancillary persons.
            Nauta car and phones
               (22-mj-8548)
      3       Unexecuted SDFL         Redact     PII; potential witness safety; names and identifying
              Search Warrant for                 information for witnesses and ancillary persons.
             Nauta residence and
             phones (22-mj-8549)
      4     SDFL Search Warrant       Redact     PII; potential witness safety; names and identifying
            for Nauta Microsoft 45               information for witnesses and ancillary persons.
             Office Email (22-mj-
                    8533)
      5     SDFL Search Warrant       Redact     PII; potential witness safety; names and identifying
             for Nauta personal                  information for witnesses and ancillary persons.
            Apple iCloud (22-mj-
                   8489)
      6     SDFL Search Warrant       Redact     PII; potential witness safety; names and identifying
            for Nauta work Apple                 information for witnesses and ancillary persons.
             iCloud account (22-
                  mj-8550)

      7     DC Search Warrant for     Redact     PII; potential witness safety; names and identifying
            Nauta Google location                information for witnesses and ancillary persons.
                data (SW-32)
      8     DC Search Warrant for     Redact     PII; potential witness safety; names and identifying
            Nauta Verizon cell site              information for witnesses and ancillary persons.
                data (SW-34)



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      9     Excerpt of Nauta FBI     Redact    Potential witness safety/witness name / witness
            Interview Transcript               identifying information; remainder of transcript is
                                               unrelated to proposition for which exhibit is cited.
     10       Excerpt of Nauta       Redact    Potential witness safety/witness name / witness
            Grand Jury Transcript              identifying information; remainder of transcript is
                                               unrelated to proposition for which exhibit is cited;
                                               Rule 6(e).


   3 - Government’s Opposition to Defendant Donald J. Trump’s Motion for Dismissal Based
   on Alleged Misconduct and Due Process Violations
   RESPONSE TO MOTION: Proposed redactions in red boxes on pp. 7, 9, 20, 23-24. Rationale:
   Potential witness safety / witness names; protects integrity of potential Government witness
   testimony; Rule 6(e); references matters under seal.
   GOVERNMENT CITATIONS TO DEFENSE EXHIBITS OR EXHIBITS FROM OTHER
   FILINGS WHERE GOVERNMENT HAS PROPOSED TO REDACT OR SEAL: Def. Ex. 2
   (Gov’t Response. at 7) – Seal. See ECF No. 348-1, at 9. Def. Ex. 7 to Mot. to Compel (Gov’t
   Response at 9) – Redact. See ECF No. 267, at 3 and at Attachment B (sealed).
   GOVERNMENT EXHIBITS:

    Gov’t     Description     Redact                           Justification
     Ex.                      / Seal /
     No.                       None
      1       FBI 302 for     Redact     Ancillary names; potential witness safety/witness names.
             Interview of a              .
                Potential
                Witness
      2       Excerpt of a    Seal       Rule 6(e); potential witness safety/witness names.
              Grand Jury
               Transcript




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   4 - Government’s Opposition to Waltine Nauta’s Motion to Dismiss the Indictment Based on
   Selective and Vindictive Prosecution
   RESPONSE TO MOTION: Proposed redactions in red boxes on p. 8. Rationale: Potential
   witness safety / witness identifying information; protects integrity of potential Government witness
   testimony; Rule 6(e).
   GOVERNMENT CITATIONS TO DEFENSE EXHIBITS OR EXHIBITS FROM OTHER
   FILINGS WHERE GOVERNMENT HAS PROPOSED REDACTIONS OR SEALING:
   Def. Ex. 7 (Government Response at 4, 10) – Redact for PII only. See ECF No. 348-1, at 7. Def.
   Exs. 4-5 (Government Response at 9) – Redact for PII only. See ECF No. 348-1, at 7.
   GOVERNMENT EXHIBITS:
    Gov’t     Description       Redact                           Justification
     Ex.                        / Seal
     No.                        / None
      1      SDFL Mar-a-        Redact    Potential witness safety; names and identifying
              Lago Search                 information for witnesses and ancillary persons
            Warrant (22-mj-
                 8332)
      2        Excerpt of        Seal     Potential witness safety/witness names / witness
             FBI Interview                identifying information; Jencks Act material for potential
            Transcript of a               Government witness; details of potential witness
                Potential                 testimony; references other non-public potential
                Witness                   Government witness names and testimony; Rule 6(e)
      3        Excerpt of        Seal     Potential witness safety/witness names / witness
              Grand Jury                  identifying information; Jencks Act material for potential
            Transcript of a               Government witness; details of potential witness
                Potential                 testimony; references other non-public potential
                Witness                   Government witness names and testimony; Rule 6(e)




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